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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

RUSSELL HEBERT, JR., ET AL                                         CIVIL ACTION

V.                                                                 NO. 23-1869

DEPARTMENT OF HOMELAND SECURITY, ET AL                             SECTION: P(1)

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       New Orleans, Louisiana, this 7th day of November 2023.

                                                   DARREL JAMES PAPILLION
                                                   UNITED STATES DISTRICT JUDGE

                                                   Issued for the court by:
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